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                                     #:70900



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9
                     IN THE UNITED STATES DISTRICT COURT
10
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12
13    NATURAL-IMMUNOGENICS                      Case No. 8:15-cv-02034-JVS (JCG)
14    CORP.,                                    JAMS No. 1220055347

15                                              PLAINTIFF NATURAL
                          Plaintiff,            IMMUNOGENICS CORP.’S NOTICE
16                                              OF MATTER SUBMITTED AND
            v.                                  READY FOR DECISIONRE:
17                                              DOCKET NOS. 820, 823
18                                              Master:   Hon. Andrew Guilford (Ret.)
19
      NEWPORT TRIAL GROUP, et al.,              Judge:    Hon. James V. Selna

20
21
                          Defendants.

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23
           Plaintiff Natural-Immunogenics Corp. (“Plaintiff” or “NIC”) hereby notifies
24
     the Court that the matter subjected for further briefing under Docket No. 820 at 12
25
     is fully briefed and ready for decision.
26
           On August 2, 2019, the Court issued an Order rejecting Defendants’
27
     assertion of attorney-client privilege over Strataluz-related documents. See Dkt.
28
                    PLAINTIFF’S REQUEST FOR DECISION ON DOCKET NOS. 820, 823
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                                     #:70901



1    820 at 25, 27. The Court also held that the Defendants could not assert work
2    product protection over documents that were prepared by individuals other than
3    Reid and Ferrell, or over documents prepared by Reid and Ferrell in their
4    capacities as Strataluz owners, officers, or agents. See id at 30.
5          The Court ordered Plaintiff to submit a list of documents subject to the
6    production order along with the privilege log from which those documents were
7    drawn. Id. On August 12, 2019, NIC submitted the appendices and privilege log
8    pursuant to the Court’s order. See Dkt. 823. Defendants submitted a response on
9    August 19, 2019. See Dkt. 830. The parties filed responsive briefs regarding that
10   dispute over applicability of the Court’s order to the documents in question. See
11   Dkt. Nos. 835, 836, 838 and 842. As of September 3, 2019, all briefing on this
12   issue was complete and the matter stood submitted. However, because this issue
13   arose from Court-ordered supplemental submissions [Dkt. 820 at 12], the Court
14   had no hearing date on the calendar.
15         This case is currently scheduled for trial on March 23, 2021, with a pretrial
16   conference date scheduled for February 22, 2021. NIC must complete discovery
17   sufficiently in advance of the pretrial conference. NIC’s submission [Dkt. 823]
18   sought potentially hundreds of additional documents germane to Strataluz issues.
19   NIC needs the outstanding documents to take full depositions of Defendants David
20   Reid, Scott Ferrell, and the NTG Rule 30(b)(6) designee. NIC appreciates the
21   Court’s heavy calendar, particularly in light of the numerous judicial vacancies and
22   the ongoing COVID-19 pandemic. NIC merely wishes to apprise the Court of this
23   pending issue in light of the absence of a hearing date calendared and looming
24   deadlines in this case.
25         Alternatively, in the Court’s discretion, NIC suggests that this issue may be
26   remanded for determination by the newly appointed Special Master. Given the age
27   of this dispute (more than one year has passed since the Court’s Order in Docket
28   No. 820), and the time-sensitive need for these files in light of the near trial date,

       NIC’S NOTICE OF MATTER SUBMITTED AND READY FOR DECISION RE: DOCKET NOS. 820, 823
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1    NIC asks that, if the Court remands this issue to the Special Master, the Court
2    Order that this be the first issue addressed by the Special Master.
3
4
5    DATED: September 25, 2020
6
7                                           Respectfully submitted,
8                                           EMORD & ASSOCIATES, PC.
9
10                                          By:    /s/ Peter A. Arhangelsky
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                                            Joshua S. Furman, Esq. (pro hac vice)
12                                          Attorneys for Plaintiff Natural
13                                          Immunogenics Corp
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       NIC’S NOTICE OF MATTER SUBMITTED AND READY FOR DECISION RE: DOCKET NOS. 820, 823
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1                               CERTIFICATE OF SERVICE
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           I hereby certify that on September 25, 2020 the foregoing PLAINTIFF
3
     NATURAL IMMUNOGENICS CORP.’S NOTICE OF MATTER
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     SUBMITTED AND READY FOR DECISIONRE: DOCKET NOS. 820, 823
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     was electronically filed using the Court’s CM/ECF system and was sent by that

7    system to the following:
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     Attorney for Newport Trial Group, Andrew Baslow,
21   Scott Ferrell, Ryan Ferrell, David Reid, and Victoria Knowles
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       NIC’S NOTICE OF MATTER SUBMITTED AND READY FOR DECISION RE: DOCKET NOS. 820, 823
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       NIC’S NOTICE OF MATTER SUBMITTED AND READY FOR DECISION RE: DOCKET NOS. 820, 823
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